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6                  IN THE UNITED STATES DISTRICT COURT FOR THE

7                         EASTERN DISTRICT OF CALIFORNIA

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9    NORBERTO ARREDONDO,               )       No. CV-F-06-056 REC
                                       )       (No. CR-F-97-5167 OWW)
10                                     )
                                       )       ORDER DECLINING TO ISSUE
11                      Petitioner,    )       CERTIFICATE OF APPEALABILITY
                                       )
12                vs.                  )
                                       )
13                                     )
     UNITED STATES OF AMERICA,         )
14                                     )
                                       )
15                      Respondent.    )
                                       )
16                                     )

17        The court hereby declines to issue a Certificate of

18   Appealability in connection with petitioner’s appeal of the Order

19   Dismissing Second Motion to Vacate, Set Aside or Correct Sentence

20   Pursuant to 28 U.S.C. § 2255.

21        Petitioner has filed a second or successive Section 2255

22   motion without first receiving authorization from the Ninth

23   Circuit.   Petitioner’s claim for relief is based on United States

24   v. Booker.    Therefore, petitioner has not shown that jurists of

25   reason would find it debatable whether this court was correct in

26   its procedural ruling and that jurists of reason would find it

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1    debatable that the petition does not state a valid claim of the

2    denial of a constitutional right.       Slack v. McDaniel, 529 U.S.

3    473, 484 (2000); Rosas v. Nielsen, 428 F.3d 1229, 1232 (9th Cir.

4    2005).

5    IT IS SO ORDERED.

6    Dated:   March 22, 2006                       /s/ Robert E. Coyle
     668554                                    UNITED STATES DISTRICT JUDGE
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